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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                 4:15CR3100
                                         )
             V.                          )
                                         )
SANTOS RAMIREZ-MORALES,                  )                   ORDER
                                         )
                   Defendant.            )
                                         )


      On defense counsel’s oral motion,

      IT IS ORDERED that:

      (1) The jury trial of this case as to Defendant Ramirez-Morales is scheduled
to commence on Monday, May 16, 2016, for four days, before the undersigned Senior
United States District Judge, in Lincoln, Nebraska. Since this is a criminal case, the
defendant shall be present unless excused by the court.

      (2) The time between today’s date and the new trial date is excluded under
the Speedy Trial Act and in the interest of justice. See 18 U.S.C. § 3161.

      DATED this 13th day of April, 2016.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
